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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                                 2:09-cv-04414-SDW-MCA


     IN RE: ZIMMER DUROM HIP CUP
     PRODUCTS LIABILITY LITIGATION                                        MDL-2158




                                        This Document Relates to:


                Christine Brice v. Zimmer Holdings, Inc., et al; Case No. 2:13-cv-02889
                Mark Doneson, et al v. Zimmer Holdings, Inc.; Case No. 2:11-cv-05472
                Charles Foster v. Zimmer Holdings, Inc., et al; Case No. 2:13-cv-02861
                Barbara Hanks v. Zimmer Holdings, Inc., et al; Case No. 2:13-cv-02887


               DEFENDANTS ZIMMER, INC. AND ZIMMER HOLDINGS, INC.’S
                       MOTION FOR ORDER TO SHOW CAUSE

          Defendants Zimmer, Inc., and Zimmer Holdings, Inc. (collectively “Zimmer”),

   respectfully move this Court for the entry of an order directing the plaintiffs, Christine Brice, Mark

   Doneson, Charles Foster, and Barbara Hanks (together, “Plaintiffs”), to present evidence that they

   were implanted with a Durom Cup and to show cause why these actions should not be dismissed

   without prejudice. In support of this Motion, Zimmer states as follows:

          1.      On June 9, 2010, the Judicial Panel on Multidistrict Litigation centralized the

   then-pending Durom Cup cases in the District of New Jersey, styled as In re: Zimmer Durom

   Hip Cup Products Liability Litigation, MDL 2158 (the “MDL”). (Transfer Order (June 9, 2010),

   attached as Exhibit 1).
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          2.      According to the Transfer Order, the common issues in the MDL are “whether

   Zimmer’s Durom Acetabular Component (or Durom Cup), a device used in hip replacement

   surgery, was defectively designed and/or manufactured, and whether Zimmer failed to provide

   adequate warnings concerning the device.” (Id. at 1-2). Accordingly, a fundamental prerequisite

   to participating in this MDL is the implantation of a Durom Cup.

          3.      None of the Plaintiffs herein were implanted with a Durom Cup and, thus, they do

   not belong in the MDL. (See Chart, attached as Exhibit 2).

          4.      On December 21, 2018, Zimmer sent letters to Plaintiffs’ counsel explaining that

   Zimmer’s records indicate that Plaintiffs were implanted with a device other than a Durom Cup

   and, if they believed otherwise, to submit documentation to establish that a Durom Cup was

   implanted. Zimmer requested a response no later than January 21, 2019. None of the Plaintiffs

   have provided records indicating that a Durom Cup was implanted.

          5.      This Court has the authority to manage individual cases in the MDL like any other

   case. In re FMC Corporation Patent Litigation 422 F. Supp. 1163, 1165 (J.P.M.L. 1976)

   (“following a transfer [under Section 1407], the transferee judge has all the jurisdiction and

   powers over pretrial proceedings in the actions transferred to him that the transferor judge would

   have had in the absence of the transfer.”).

          6.      Because Plaintiffs were not implanted with a Durom Cup, Zimmer respectfully

   requests that the Court enter an order requiring Plaintiffs to present evidence that they were

   implanted with a Durom Cup and to show cause why their cases should not be dismissed without

   prejudice.

          WHEREFORE, Zimmer respectfully requests this Court to issue an order to show cause

   why Plaintiffs’ cases should not be dismissed without prejudice.



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   Dated: February 15, 2019          Respectfully submitted,

                                     FAEGRE BAKER DANIELS LLP


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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing document has been served upon all
   counsel of record via ECF, this 15th day of February, 2019.


                                     /s/ John Joseph Tanner




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